       Case 5:22-cv-04486-BLF Document 23 Filed 08/03/22 Page 1 of 2



 1   KEKER, VAN NEST & PETERS LLP
     JOHN W. KEKER - # 49092
 2   jkeker@keker.com
     ELLIOT R. PETERS - # 158708
 3   epeters@keker.com
     LEO L. LAM - # 181861
 4   llam@keker.com
     DAVID SILBERT - # 173128
 5   dsilbert@keker.com
     ERIC H. MACMICHAEL - # 231697
 6   emacmichael@keker.com
     R. ADAM LAURIDSEN - # 243780
 7   alauridsen@keker.com
     BROOK DOOLEY - # 230423
 8   bdooley@keker.com
     NICHOLAS S. GOLDBERG - # 273614
 9   ngoldberg@keker.com
     THOMAS E. GORMAN - # 279409
10   tgorman@keker.com
     SOPHIE HOOD - # 295881
11   shood@keker.com
     NIC MARAIS - # 277846
12   nmarais@keker.com
     633 Battery Street
13   San Francisco, CA 94111-1809
     Telephone:     415 391 5400
14   Facsimile:     415 397 7188

15

16   Attorneys for Defendant
     PGA TOUR, INC.
17
                                   UNITED STATES DISTRICT COURT
18
                                  NORTHERN DISTRICT OF CALIFORNIA
19
                                      SAN FRANCISCO DIVISION
20
     PHIL MICKELSON; TALOR GOOCH;                      Case No. 3:22-cv-04486
21   HUDSON SWAFFORD; MATT JONES;
     BRYSON DECHAMBEAU; ABRAHAM                        NOTICE OF APPEARANCE
22   ANCER; CARLOS ORTIZ; IAN POULTER;                 OF LEO L. LAM
     PAT PEREZ; JASON KOKRAK; and PETER
23   UIHLEIN,                                          Date Filed: August 3, 2022

24                  Plaintiffs,                        Trial Date: Not Yet Set

25             v.

26   PGA TOUR, INC.,

27                  Defendant.

28


                                   NOTICE OF APPEARANCE OF LEO L. LAM
                                           Case No. 3:22-cv-04486
     1879426
       Case 5:22-cv-04486-BLF Document 23 Filed 08/03/22 Page 2 of 2



 1             TO THE CLERK OF THE COURT AND TO ALL PARTIES OF RECORD:

 2             PLEASE TAKE NOTICE that Leo L. Lam of Keker, Van Nest & Peters LLP hereby

 3   appears as counsel for Defendant PGA TOUR, INC. in the above-captioned matter. Counsel is

 4   admitted to practice in the State of California and before this Court. His address, telephone,

 5   facsimile, and email are as follows:

 6             LEO L. LAM - # 181861
               KEKER, VAN NEST & PETERS LLP
 7             633 Battery Street
               San Francisco, CA 94111
 8             Telephone:     (415) 391-5400
               Facsimile:     (415) 397-7188
 9             Email:         llam@keker.com
10             Please serve said counsel with all pleadings, orders, motions, notices, and other filings in

11   this action.

12
     Dated: August 3, 2022                                      KEKER, VAN NEST & PETERS LLP
13

14
                                                         By:    /s/ Leo L. Lam
15                                                              JOHN W. KEKER
                                                                ELLIOT R. PETERS
16                                                              LEO L. LAM
                                                                DAVID SILBERT
17                                                              ERIC H. MACMICHAEL
                                                                R. ADAM LAURIDSEN
18                                                              BROOK DOOLEY
                                                                NICHOLAS S. GOLDBERG
19                                                              THOMAS E. GORMAN
                                                                SOPHIE HOOD
20                                                              NIC MARAIS

21                                                              Attorneys for Defendant
                                                                PGA TOUR, INC.
22

23

24

25

26

27

28

                                                         1
                                     NOTICE OF APPEARANCE OF LEO L. LAM
                                             Case No. 3:22-cv-04486
     1879426
